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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
915 Wilshire Blvd., Ste 1850, Los Angeles, CA 90017

                                                                      NOTICE OF APPOINTMENT OF CHAPTER 11
A true and correct copy of the foregoing document entitled (specify): __________________________________________
 TRUSTEE
________________________________________________________________________________________________
________________________________________________________________________________________________
________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_______________,
05/24/2024          I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:




                                                                                       ✔ Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _______________, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.
   n/a




                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
 n/a




                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

05/24/2024         Russell Clementson                                                          /s/Russell Clementson
 Date                        Printed Name                                                       Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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                          SERVICE LIST CONTINUED


SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF)

   •   Ron Bender rb@lnbyg.com
   •   J Scott Bovitz bovitz@bovitz-spitzer.com
   •   Rudy J Cerone rcerone@mcglinchey.com,
       lgraff@mcglinchey.com;jingargiola@mcglinchey.com
   •   Russell Clementson russell.clementson@usdoj.gov
   •   Andrew Michael Cummings andrew.cummings@hklaw.com,
       philip.dobbs@hklaw.com;hapi@hklaw.com;reena.kaur@hklaw.com
   •   Michael G. Farag mfarag@gibsondunn.com
   •   Paul R. Glassman pglassman@stradlinglaw.com
   •   Michael I. Gottfried mgottfried@elkinskalt.com,
       cavila@elkinskalt.com,lwageman@elkinskalt.com,docketing@elkinskalt.com
   •   Steven T Gubner sgubner@bg.law, ecf@bg.law
   •   Ralph P Guenther rguenther@guentherlawgroup.com
   •   Robert T. Honeywell robert.honeywell@klgates.com
   •   Lance N Jurich ljurich@loeb.com,
       pmatsuda@loeb.com;ladocket@loeb.com;ljurich@ecf.courtdrive.com;fmckeo
       wn@loeb.com
   •   Monica Y Kim myk@lnbyg.com, myk@ecf.inforuptcy.com
   •   Jeffrey C Krause jkrause@gibsondunn.com,
       dtrujillo@gibsondunn.com;jstern@gibsondunn.com
   •   Adam A Lewis alewis@mofo.com, adam-lewis-3473@ecf.pacerpro.com
   •   Krikor J Meshefejian kjm@lnbyg.com
   •   Fred Neufeld fneufeld@sycr.com, tingman@sycr.com
   •   David M Poitras dpoitras@bg.law
   •   Paul M Rosenblatt prosenblatt@kilpatricktownsend.com,
       moroberts@ktslaw.com
   •   Brandy A Sargent brandy.sargent@klgates.com,
       litigation.docketing@klgates.com;janna.leasy@klgates.com
   •   Zev Shechtman Zev.Shechtman@saul.com,
       zshechtman@ecf.inforuptcy.com;easter.santamaria@saul.com
   •   Jason D Strabo jstrabo@mwe.com, jbishopjones@mwe.com
   •   United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov
   •   Jeffrey C Wisler jwisler@connollygallagher.com,
       dperkins@connollygallagher.com
   •   Beth Ann R. Young bry@lnbyg.com, bry@lnbyb.com
